                    Case 2:23-bk-10990-SK                       Doc 4 Filed 02/23/23 Entered 02/23/23 13:38:56                                     Desc
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      Fill in this information to Identify your case:

      United States Bankruptcy Court for the:

      CENTRAL DISTRICT OF CALIFORNIA

      Case number   (if known)      2:23-bk-10990-DS                               Chapter you are filing under:

                                                                                   fl Chapter 7
                                                                                   [ Chapter 11
                                                                                      Chapter 12

                                                                                   fl Chapter 13                                   J    Check if this is an
                                                                                                                                        amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                        12/22
 The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I arid Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The same person must be Debtor I in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


 I11 Identify Yourself

                                        About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

  1.      Your full name

         Write the name that is on      Leslie
         your government-issued         First name                                                      First name
         picture identification (for
         example, your drivers
         license or passport).          Middle name                                                     Middle name
         Bring your picture
                                        Klein
         identification to your
                                        Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
         meeting with the trustee




 2.      All other names you have
         used in the last 8 years
         Include your married or
         maiden names and any
         assumed, trade names and
         doing business as names.
         Do NOT list the name of
         any separate legal entity
         such as a corporation,
         partnership, or LLC that is
         not filing this petition.



 3.      Only the last 4 digits of
         your Social Security
         number or federal             xxx-xx-6944
         Individual Taxpayer
         Identification number
         (ITIN)




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                                 ______________________________________________                ____________________________________________
                                                                                               ____________________________________________


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 Debtor 1    Leslie Klein                                                                            Case number (if known)      2:23-bk-I 0990-DS



                                 About Debtor I:                                               About Debtor 2 (Spouse Only in a Joint Case):

      Your Employer
      Identification Number
      (EIN), if any.
                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:


                                 322 N. June Street
                                 Los Angeles, CA 90001
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code


                                 Los Angeles
                                 County                                                        County

                                 If your mailing address is different from the one             IfDebtor 2’s mailing address is different from yours, fill       it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.


                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last   180 days before filing this petition,   fl      Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any                have lived in this district longer than in any other
                                       other district,                                                 district.

                                 [j    I have another reason.                                  El      I have another reason.
                                       Explain. (See 28 U.S.C.    §   1408.)                           Explain. (See 28 U.S.C.   §   1408.)




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 Debtor 1    Leslie Klein                                                                                  Case number   (if known)   2:23-bk-I 0990-DS


 -.         Tell the Court About Your Bankruptcy Case

 7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing for Bankruptcy
      Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      choosing to file under
                                  fl
                                  Chapter 7
                                  J    Chapter 11
                                       Chapter 12
                                  El   Chapter 13



8.    How you will pay the fee    []     I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                  fl    I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for          jJ No.
      bankruptcy within the
      last 8 years?               El Yes.
                                             District                                   When                             Case number
                                             District                                   When                             Case number
                                             District                                   When                             Case number



10. Are any bankruptcy            fl No
    cases pending or being
    filed by a spouse who is      i Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                                                                                                                                  Leslie Klein is
                                             Debtor      Bay Area Development Co.                                      Relationship to you        the principal
                                                         Central District of                                                                      2:22-bk-15031-
                                             District    California                     When     9/14122               Case number, if known      SK
                                             Debtor                                                                    Relationship to you
                                             District                                   When                           Case number, if known



11. Do you rent your             FJ No.       Go to line 12.
    residence?
                                 El Yes.
                                                                                    .


                                              Has your landlord obtained an eviction judgment against you?

                                              El        No. Go to line 12.

                                              fl        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 1 CiA) and file it as part of
                                                        this bankruptcy petition.




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 Debtor 1     Leslie Klein                                                                                         Case number      (if known)   2:23-bk-I 0990-DS


            Report About Any Businesses You Own as a Sole Proprietor

 12. Are you a sole proprietor
     of any full- or part-time       J No.          Go to Part 4.
     business?
                                     LI Yes.        Name and location of business
       A sole proprietorship is a
       business you operate as                      Name of business, if any
       an individual, and is not a
       separate legal entity such
       as a corporation,
       partnership, or LLC.
       If you have more than one                    Number, Street, City, State & ZIP Code
       sole proprietorship, use a
       separate sheet and attach
       it to this petition.                         Check the appropriate box to describe your business:
                                                    fl Health Care Business (as defined in 11 U.S.C.           §   101 (27A))
                                                   fl      Single Asset Real Estate (as defined in 11 U.S.C.       §   101(51 B))
                                                   El      Stockbroker (as defined in 11 U.S.C.   §   101 (53A))
                                                   LI      Commodity Broker (as defined in 11 U.S.C.      §   101(6))
                                                   LI      None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the                proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and             you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations.
    are you a small business         cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as            § 1116(1)(B).
    defined by 11 U.s. C. §          fl No.         I am not filing under Chapter 11.
    1182(1)?
    For a definition of small                      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                     fl   No.
                                                   Code.
    U.S.C. § 101(51D).

                                          Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                   I do not choose to proceed under Subchapter V of Chapter 11.

                                          Yes.     I am filing under Chapter 11, I am a debtor according to the definition in        §   1182(1) of the Bankruptcy Code, and I
                                                   choose to proceed under Subchapter V of Chapter 11.

                    if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.   Do you own or have any         No.
      property that poses or is
      alleged to pose a threat       LI Yes.
      of imminent and                            What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                        If immediate attention is
      immediate attention?                       needed, why is it needed?

      For example, do you own
      perishable goods, or
      livestock that must be fed,                Where is the property?
      or a building that needs
      urgent repairs?
                                                                               Number, Street, City, State & Zip Code




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 Debtor 1    Leslie Klein                                                                               Case number    (if known)   2:23-bk-I 0990-DS

            Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit             Jj I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                        Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15
                                        days.
                                        I am not required to receive a briefing about                  I am not required to receive a briefing about credit
                                        credit counseling because of:                                  counseling because of:

                                               Incapacity.
                                               I have a mental illness or a mental deficiency
                                                                                                       El   Incapacity.
                                                                                                            I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                        E      Disability.
                                               My physical disability causes me to be
                                                                                                            Disability.
                                                                                                            My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                        If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                        briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                        motion for waiver credit counseling with the court.            of credit counseling with the court.




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                                                                                                                                      Cue number Onnowe      2:23-bk-1099o.DS
Debtor 1         LloilGifl

                Answer These Quetlona for Reporting Purpo5aa
                                                                                                                                          defined    In 11 USC. § 101(8) sa ‘Incurred by an
15. What kind of debts do                       16g.                    Are yots debtaprimarify consumer debts? Consumerdebls are
          you have?                                                     lndMdual primarily lot a personal, family. or household purpose.’
                                                                        j) No. Go to line 161).
                                                                        [Ye,GotoiIne1?.
                                                                                                                                                      incurred to obtain
                                                18b.                    Are your debts primarily busbess debts? Business debts are dbts that you   or tiwetment.
                                                                        money for a business or uzwestment o through thu operation of the businese
                                                                        Q No. Go to Ihe lOc.
                                                                           Yes. GD to line 17.
                                                I Sc.                   State his type of debts you owe that are not conwmer debts or bunneas debts



17. Are you filing under                        j No.                   I am not filing under Chapter 7. Go to line 1$.
                                                                                                                    V
                                                                                                                                           V




    Chapter 7’?
                                                                    V




                                                                                                                                                            and                   nlstretlve expenses
                                                                        I am filing under Chapter?. Do you estimate that sfter any exempt property excluded
                                                                                                                                                                        V


                                                                                                                                                    Is
          Do you estimate that     fl y                                                     will be available to distribute    unsecured creditors?
          after any exempt                                              are paid that funds                                 to
      V


          property 1* excluded and
          adminIStrative exp.nsee                                       Q No
          are paid that funda will
          be available for                              V       V
                                                                        Q Yea
          disblbutlon to unsecured
          creditors?

                                                                                                                t,ooo-8,oco                               25,001-50,000
18        How many Creditors do                 (?J 149
          you estimate that you                                                                                 5001-10,000                               80,001100,000
                                                    50-99
          owe?                                      1001                                                     11 10,001-25,000                             More tMfllQO,000
                                                    200-999
                                                                                      V




19.           much do you                             -$50000                                                [J $1,000,001 - $10 million               C $0,00O,Ooi - SI billion
          How                                   Q so
          esUmet your assets      to            Dsso.oa1 $100,000                                               $10,000,001 $80 million
                                                                                                                                 -                     C $1,000,000,001 $10 billion
                                                                                                                                                                                  -




          he worth?                                                                                          0 $50,000.00?         millIon             0 $10,000,000,001 - $50 billion
                                                fl $100,001 s50o,ooo
                                                                                                             [] $100,000,001 - $500 milton             El More than $50 billion
                                                C $500,001 $1 million
                                                                                                                                                                                          V




                                        V




                much do you                                                                                  I 51.000,001   - $10 million              C $600,000,001 - $1 bIJiDfl
                                                Q $5 $50,000-

          estimate your   liabilities           0 $50,ooi - $100,000                                             $10,000,001 -$50 million              f $1,000,000,001 - $10 blihion
          (0 b?       V



                                                    $100,001 . $500,000                                          $50,000,001 $100 million
                                                                                                                                 -                    :0 $10,000,000,001 $50 billion
                                                    $500,001 - $1 million
                                                                                                        V



                                                                                                                 $100,000,001 -$500 milton                 More than $50 bilUon
                                            -




                Sign w
IT’
                                                                                                                                                                -.-.—       -



                                                  V__



                                                                                                                                                      true and correct
For you                                         I have examined this petition, mid I declare under penalty or pa4uly that the information provided Is
                                                                                                                                                      11,12, or 13 of title II,
                                                If I hv chosen to file undef Chapter?, 1 am aware that I may proceed, Weligibte, uodr Chapter?,
                                                                                                                                            proceed  under  Chapter?.
                  V




                                                United States Code. I under*tand the   relief available under each chapter, and I chOoae to

                                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help                       ma   lilt cut this
                                                document, I have obtained and read the notice required by II U.S.C. 342(b)
                                                I request relief In ccordance wfth the chapter of tItle 11, UnIted Stales Cede, cedfIed in thle petition.

                                                I understand making a false tatemant, concealing property, or obtaining money or property by
                                                                                                                                                  Caud in connedlon with a
                                                baflkluplcyVcaeq can iosult in fines up to $250,000, or Imprisonment for up
                                                                                                                             to 20 years, or bOth. 18 U.S.C. §5 152, 1341, 1519,
                                                and 3511.
                                                                                                                                                                                                      V




                                                                                                                                               Qf
                                                                                                  •V




                                                áNeVkte)/
                                                                                                                                 5g5iwe of

                                                SlgnetiweofDebtorl

                                                executed on                          I
                                                                             MM Rb VYVY
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                                                                                                                                                MM roD i YYYY




Official Form 101                                                        Vciuntmy Petition for lndMduala Filing         for   Bankruptcy                                                      pageS
                                                                                                                  ______________________




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 Debtor 1    Leslie Klein                                                                                     Case number   (if known)   2:23-bk-I 0990-DS




 For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
 represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                 for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
 If you are not represented by   and, in a case in which § 707(b)()(D) applies, certify that I have no knowledge after an inquiry that the information in the
 an attorney, you do not need    sd le ile with the petitiorlA inco/ect.                                                /      1
 to file this page.
                                                                   /7/ 444/                         Date
                                 Siature of Attorney kr7eyor                                                       M    / DD I YYY

                                                      Berger,/

                                 Law Offices of Michael Jay Berger
                                 Firm name

                                 9454 Wilshire Boulevard, 6th floor
                                 Beverly Hills, CA 90212
                                 Number, Street, City, State & ZIP Code

                                                                                                                       michael.bergerbankruptcypower.c
                                 Contact phone     (310) 271 -6223                            Email address            om
                                 100291 CA
                                 Bar number & State




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